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                                                   UNITED STATES DISTRICT COURT
                                                    DISTRICT OF MASSACHUSETTS
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    UNITED STATES OF AMERICA,

                              Plaintiff,
                                                                      CRIMINAL NO. 14-10304-DPW
    v.

    DAGOBERTO OLEA,

                              Defendant.

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   REVISED REPORT AND RECOMMENDATION REGARDING DEFENDANT’S
                       MOTION TO DISMISS1 (Dkt. No. 151)
                                            
                                   August 12, 2016
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CABELL, U.S.M.J.
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     Defendant Dagoberto Olea (“Olea” or “the defendant”) has moved to dismiss Count One

of a superseding indictment (“the Indictment”) charging him with conspiring to distribute and to

possess with intent to distribute 1,000 kilograms or more of marijuana in Massachusetts and

California, in violation of 21 U.S.C. § 846 of the Controlled Substances Act (“CSA”).2 Olea

allegedly helped co-defendant Michael Gordon (“Gordon”) procure marijuana in California,

which Gordon then caused to be transported to Massachusetts. Olea advances several arguments

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  This Revised Report and Recommendation corrects a misstatement contained in the original Report and
Recommendation issued on August 5, 2016. In Section II, part A, the Court recites the elements the government
must prove beyond a reasonable doubt in order to prove a drug trafficking conspiracy in violation of 21 U.S.C. §
846. The Court issues this revised Report and Recommendation to clarify that the government is not required to
prove that the defendant, or any co-conspirator, committed an overt act in furtherance of the conspiracy. The
original Report and Recommendation mistakenly indicated that it was necessary to show at a minimum that at least
one person committed an act in furtherance of the conspiracy.
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   Count One also charges co-defendants Gordon, Andrean Jaggon and Daphne Jean with participating in the
marijuana trafficking conspiracy. Olea is named only in Count One; the Indictment contains 13 other counts
charging one or more of the other defendants with conspiracy to money launder, in violation of 18 U.S.C. § 1956(h),
and money laundering, in violation of 18 U.S.C. §§ 1956(a)(1)(B)(i) and 1957.
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in support of his motion but the gravamen of his claim is that he cannot be found to have violated

federal law, even assuming he did help Gordon procure large amounts of marijuana, because

everything he did took place entirely inside the state of California. As discussed below, the

Court finds the defendant’s arguments to be without merit and recommends that the motion to

dismiss be denied.

    I.      BACKGROUND

          A.      Relevant Facts

         Olea has submitted an affidavit stating that, during the period of the alleged conspiracy,

he did not have contact with federal law enforcement, did not visit Massachusetts, and did not

send or transport anything to Massachusetts. (Dkt. No. 151-1). Olea has not otherwise

challenged the allegations in the Indictment, or the affidavits and declarations submitted by

Department of Homeland Security Special Agent Richard Atwood, and he agreed at a prior

hearing that there was no need to convene an evidentiary hearing where his arguments are legal

rather than factual ones. Accordingly, the Court treats the government’s factual allegations as

true for purposes of the present motion.

         The Indictment alleges that the defendants conspired from at least July 2011 until

November 2014 to distribute and to possess with intent to distribute marijuana in the District of

Massachusetts, the Northern District of California, and elsewhere. (Dkt. No. 120). During that

time, co-defendant Gordon flew on a number of occasions from Boston to Northern California.

Typically, he would then rent a vehicle and drive hundreds of miles to Olea’s residence in

Redwood Valley, California. (Dkt. No. 14, ¶¶ 29, 31). Aerial surveillance of Olea’s residence in

May 2012 and July 2013 revealed marijuana plants being cultivated on the property. (Id.).

Moreover, a large marijuana cultivation operation was discovered on Olea’s property during a



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May 2013 search conducted by local law enforcement authorities. (Id. at ¶ 23). Gordon would

remain at Olea’s residence for one or two days and then drive back to San Francisco on the

mornings of his return flights to Boston. (Id. at ¶ 32)

       While in San Francisco, Gordon was repeatedly observed by surveillance agents traveling

to post offices and FedEx facilities, where he would mail numerous packages to Boston, using

nonexistent names at real Boston addresses. (Id.) USPS and FedEx records revealed that

between July 6, 2011 and February 24, 2014, Gordon mailed at least 316 packages from San

Francisco to Boston. (Dkt. No. 163-1, ¶ 7). Search warrants for twenty of those packages

demonstrated that approximately half of the weight of each package was marijuana, with the

other half divided between packing materials and the boxes’ weight. (Id.) Using a conservative

estimate that only one-third of the weight of the unseized packages was marijuana, officers

extrapolated that Gordon shipped at least 2,890 pounds of marijuana, obtained from Olea,

between July 2011 and February 2014. (Id.) To date, officers have recovered currency

transaction reports evidencing Gordon’s transfer of approximately $800,000 to Olea and his

brother. (Dkt. No. 14, ¶ 23).

         B.      The Defendant’s Motion

       Olea filed an initial motion to dismiss on October 2, 2015 along with a legal

memorandum, and on October 14, 2015 filed an amended motion (with no additional

memorandum) to correct some non-substantive errors. (Dkt. Nos. 128, 129, 151). The amended

motion is thus the operative motion and it is referred to here as the “motion” for the sake of

brevity. The motion articulates five separate grounds for relief while the memorandum addresses

those grounds through four principal arguments. The Court addresses the arguments as set out in

the defendant’s memorandum.



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          The motion appears to rest at least in part on the premise that distribution of medical

marijuana is lawful under some circumstances in California. Olea does not assert that this case

involves medical marijuana, or that he personally had a legal right to distribute marijuana under

California law, but he appears to posit that the differences in the way federal and California law

treat marijuana distribution implicate serious constitutional concerns requiring dismissal of the

indictment. He argues that: (1) the Indictment must be dismissed because there is no evidence he

had knowledge of the interstate aspect of the charged conspiracy, that is, that the California-

grown marijuana he distributed to Gordon was going to be exported to Massachusetts; (2) the

prosecution violates the Tenth Amendment’s concept of federalism because the manner in which

the CSA is enforced encourages the federal government to treat citizens of states where

marijuana has been partially decriminalized differently than citizens of states where it remains

entirely criminalized; (3) the prosecution violates the defendant’s due process rights because the

government seeks to prosecute him for conduct that may be lawful within California; and (4) the

prosecution violates the Fifth Amendment’s equal protection clause because there is no rational

basis to treat marijuana as a controlled substance.

    II.      ANALYSIS

    A. The Indictment Contains All of the Necessary Elements of Conspiracy

          Olea argues that the conspiracy charge must be dismissed because: (1) he did not further

the interstate distribution of marijuana and lacked knowledge of an “essential feature” of the

criminal venture, i.e., exporting California-grown marijuana to Massachusetts; and (2) the

government failed to present evidence to the grand jury demonstrating Olea’s knowledge of

Gordon’s interstate distribution of marijuana. (Dkt. No. 129). This argument fails easily.




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       To convict a defendant of conspiring to distribute and to possess with intent to distribute

marijuana in violation of 21 U.S.C. § 846, the government must prove: (1) that the agreement

specified in the indictment existed between at least two people; and (2) that the defendant

willfully joined in that agreement. See Pattern Jury Instructions: First Circuit, Criminal Cases §

4.18.371(1), Committee on Pattern Criminal Jury Instructions – First Circuit 1998 Edition,

Updated April 13, 2016 by Judge Torresen, at p. 107 (hereinafter, “Pattern Jury Instructions”).

The government is not required to prove that Olea committed an overt act in furtherance of the

conspiracy. See United States v. Shabani, 513 U.S. 10, 11 (1994); Whitfield v. U.S., 543 U.S.

209, 215 (2005). Indeed, it is not necessary to show that the defendant knew about, understood,

or specifically agreed to all details of the crime so long as he shared a general understanding of

the criminal venture. Pattern Jury Instructions at p. 107.

       Specifically addressing Olea’s core claim, it is not necessary to show that Olea knew or

intended that the marijuana he provided to Gordon would be distributed outside of California.

Gonzales v. Raich, 545 U.S. 1, 9 (2005) (holding that the CSA is a valid exercise of federal

power and that federal authorities may enforce the CSA even against those engaged in purely

intrastate marijuana use that is legal under state law). Olea can be found guilty of violating §

846 if he conspired to distribute marijuana at all, regardless of whether he had the knowledge or

intent that the marijuana would be exported to Massachusetts. Id.

       Finally, and as the government points out, even assuming the government were required

to show that Olea knew the marijuana he procured for Gordon was to be exported out of

California, there is ample evidence from which one could reasonably infer such knowledge.

Gordon made repeated trips to California from Massachusetts to Olea’s residence to obtain

thousands of pounds of marijuana before returning to Massachusetts. Further, Olea was



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subsequently arrested in a car rented by Gordon while transporting nine boxes of marijuana.

Further still, Gordon transferred hundreds of thousands of dollars to Olea from Gordon’s

Massachusetts bank accounts. Taken together, these facts would easily support a reasonable

inference that Olea repeatedly sold large amounts of marijuana to Gordon knowing Gordon

would in turn transport the marijuana out of California, most likely to Massachusetts.

             In short, the Indictment adequately alleges all elements of the offense charged and there

was in any event ample evidence to substantiate probable cause that Olea knew he was

distributing marijuana outside of California.3

      B. Olea’s Federal Prosecution Does Not Violate Equal Sovereignty or the Tenth
         Amendment

             Olea argues that the Indictment violates principles of “federalism” and the “equal

sovereignty” of the states in violation of the Tenth Amendment. Federalism is the term used to

refer to the constitutional relationship between the U.S. states and the federal government,

although the word does not actually appear in the U.S. Constitution itself. The Tenth

Amendment helps to define the concept of federalism because it holds that powers that are not

delegated to the United States by the Constitution are reserved to the states. Implicit within the

Tenth Amendment, the concept of “equal sovereignty” provides that federal laws that do apply to

the states must be applied evenly and a state may not be singled out for differential treatment

unless it is justified by current needs and “sufficiently related to the problem that it targets.”




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 Olea also appears to argue that, because California and federal law both criminalize marijuana distribution, there is
no positive conflict between the federal and state legislative schemes in this area, and therefore no federal
preemption, and state jurisdiction therefore must control pursuant to 21 U.S.C. § 903. The Supreme Court has
considered and rejected this notion; California’s laws regarding the lawfulness vel non of possession and distribution
of marijuana cannot be used as a shield to prevent a federal prosecution for violation of federal law. Raich, 545 U.S.
at 29.

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Shelby County v. Holder, 133 S. Ct. 2612, 2627 (2013) (citing Northwest Austin Mun. Utility

Dist. No. One v. Holder, 557 U.S. 193, 204 (2009)).

       Against this backdrop, Olea contends that federal laws relating to the classification of

marijuana as a Schedule I substance under the CSA are unjustified because the conditions

validating marijuana’s inclusion in Schedule I no longer comport with medical and scientific

evidence regarding its dangers. He argues also that the policy articulated in the Memorandum

For All United States Attorneys, issued on August 29, 2013, by Deputy Attorney General James

Cole (Dkt. No. 130, Ex. C) (hereinafter, “Cole Memo”), sets up a scheme that encourages the

prosecution of individuals in states where marijuana is criminalized but discourages the

prosecution of those in states where distribution of marijuana has been partially or entirely

decriminalized. He argues that this combination of an outdated classification with a policy of

discriminatory prosecution violates the Tenth Amendment and the principle of equal sovereignty

because it has resulted in an uneven and unlawful application of federal law depending on the

state where one resides.

       The Court rejects this argument. First, to the extent the defendant’s argument relies on a

challenge to the continued classification of marijuana under the CSA, the Supreme Court has

held that the CSA represents a proper exercise of Congress’ authority under the Commerce

Clause. Raich, 545 U.S. at 15-22, 32-33. Accordingly, the Tenth Amendment inquiry ends there

and there is no need to consider equal sovereignty concerns. Id.; United States v. Brecker, No.

4:14CR250 CDP (TIA), 2015 WL 1565355, *5 (E.D. Mo. Apr. 8, 2015).

       Moreover, Olea’s characterization of the Cole Memo and what it purports to do is

incorrect. The Court agrees with the government that the Cole Memo does not shelter from

federal prosecution those who distribute marijuana in states that have partially decriminalized



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such conduct. Rather, it serves as a guide to the exercise of investigative and prosecutorial

discretion and does not alter the authority of the Department of Justice to enforce federal laws

relating to marijuana, regardless of state law. (See Dkt. No. 365–1 at p. 4). Among the eight

listed priorities, the memo includes “preventing revenue from the sale of marijuana from going

to criminal enterprises, gangs, and cartels,” “preventing violence from the use of firearms in the

cultivation and distribution of marijuana,” and “preventing the diversion of marijuana from states

where it is legal under state law in some form to other states.” (Dkt. No. 130). The memo

directs prosecutors to focus their resources and efforts on “persons or organizations whose

conduct interferes with any one or more of these priorities” in all cases and in all jurisdictions,

“regardless of state law.” (Id.) Thus, it does not alter the Department of Justice’s authority to

enforce federal marijuana laws. Because the Cole Memo applies evenly to all states, and

because the defendant’s conduct implicates several federal enforcement priorities, his

prosecution does not violate principles of equal sovereignty.

       The defendant’s reliance on Shelby County for support to the contrary is unavailing. That

case involved a portion of the Voting Rights Act (VRA), a federal statute regulating the conduct

of state elections, a power clearly committed to the states. Shelby County, 133 S. Ct. at 2623

(stating that the states were intended to “keep for themselves, as provided in the Tenth

Amendment, the power to regulate elections”). The Supreme Court in Shelby County addressed

the principle of equal sovereignty because the case involved a power ordinarily committed to the

states, and noted that the federal government must show that burdens created by disparate

treatment of the states are justified by current needs. Id. at 2627 (citing Northwest Austin Mun.

Util. Dist. No. One, 557 U.S. at 203). Because the Supreme Court found that the justification for

federal supervision of state election procedures in those states covered by the VRA no longer



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existed, that portion of the VRA no longer comported with the Tenth Amendment. Id. Shelby

County is thus distinguishable not only because it involved an area of regulation traditionally

reserved to the states, but also because the CSA, unlike the Voting Rights Act, criminalizes

marijuana distribution in all 50 states and does not treat different states differently.

    C. Olea’s Prosecution Does Not Violate Due Process

       The defendant argues that prosecuting him for conspiracy to violate federal drug laws

would violate his right to due process. The defendant reasons that because he committed all of

his acts inside of California, and never personally transferred any marijuana outside of

California, the federal government “is restricted from imposing [its] jurisdiction on a right solely

within the jurisdiction of the States.” (Dkt. No. 129). To make this argument, Olea urges that he

is a farmer whose crop is marijuana, in a state that allows the personal cultivation of (medical)

marijuana, as well as marijuana distribution in “certain circumstances.” (Id.) From there he

alleges that the right “to an occupation, to farm marijuana,” is retained by the states under the

Ninth Amendment. (Id.) Then, analogizing to Dred Scott v. Sandford, 60 U.S. 393 (1857), Olea

posits that, like the slave-owner, his due process rights were violated because he forfeited his

liberty and property, marijuana, when the marijuana traveled from one state that allowed its

cultivation and distribution to Massachusetts, a jurisdiction that did not.

       As an initial matter, this argument fails on its face because Olea has neither provided

evidence nor even directly asserted that he possesses a license to grow, sell or possess marijuana

in the state of California, or that the marijuana he cultivated was medical marijuana. (Dkt. No.

129). But even assuming that he was a licensed marijuana grower, his due process argument is

equally without force. Dred Scott is inapposite to the defendant’s case because the Supreme

Court’s analysis in that case was based upon Congress’s lack of authority to regulate slavery. By



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contrast, Congress does have the authority to prohibit marijuana distribution. Raich, 545 U.S. at

9. Because the defendant’s prosecution comports with congressional authority to prohibit

marijuana distribution, it does not violate his due process rights.



    D. Olea’s Prosecution Does Not Violate the Equal Protection Clause of the Fifth
       Amendment

       Olea contends that because current medical and scientific research “overwhelmingly”

establishes the benefits of medical marijuana, there is no rational basis for treating marijuana as a

controlled substance. He argues that including marijuana as a Schedule I substance under the

CSA violates the Fifth Amendment’s Equal Protection Clause because the classification is

unjustified and “arbitrary,” and a decision to prosecute may not be based on an unjustified

standard such as an arbitrary classification. Olea argues that the inclusion of marijuana within

Schedule I cannot survive rational basis review where it bears no relationship to an independent

and legitimate legislative end. See United States v. Windsor, 133 S. Ct. 2675, 2695 (2013). He

argues further that application of the Cole Memo has led to disparate geographic treatment under

federal law to the extent it protects some individuals for actions “identical to” those he is alleged

to have committed.

       Every federal circuit court to consider the constitutionality of the scheduling of marijuana

as a Class I drug has applied the rational basis standard of review and upheld the statute. See

Sacramento Nonprofit Collective v. Holder, 552 Fed. App'x. 680 (9th Cir. 2014) (allowing that

the use of medical marijuana is more accepted today, but refusing to conclude that the

legalization of marijuana for medical use removed from public debate the question of its value or

amounted to recognition of a recognized right to its use); United States v. Canori, 737 F.3d 181

(2nd Cir. 2013) (noting, in a challenge to Ogden Memo, that the Second Circuit had previously

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upheld constitutionality of classification of marijuana as Schedule I drug); United States v. White

Plume, 447 F.3d 1067, 1075-1076 (8th Cir. 2006) (finding that there was no fundamental right at

issue, thus refusing to apply strict scrutiny analysis and concluding that the classification of

marijuana under Schedule I was “neither arbitrary nor irrational” and “passes muster under the

rational basis test”); see also United States v. Burton, 894 F.2d 188, 192 (6th Cir. 1990); United

States v. Fry, 787 F.2d 903, 905 (4th Cir. 1986); United States v. Middleton, 690 F.2d 820, 824

(11th Cir. 1982); United States v. Erwin, 602 F.2d 1183, 1185 (5th Cir. 1979); United States v.

Miroyan, 577 F.2d 489, 495 (9th Cir. 1978) (“The constitutionality of the marijuana laws has

been settled” so “we need not again engage in the task of passing judgment on Congress’s

legislative assessment of marijuana.”). This Court finds no basis to disagree with or depart from

the reasoning and holdings of these prior decisions, and accordingly rejects the defendant’s equal

protection argument.4

      III.          CONCLUSION

             For all of the foregoing reasons, it is respectfully recommended that the defendant’s

motion to dismiss be denied. The parties are hereby advised that under the provisions of Federal

Rule of Criminal Procedure 59(b) any party who objects to this recommendation must file

specific written objections thereto with the Clerk of this Court within 14 days of the party's

receipt of this Report and Recommendation. The written objections must specifically identify

the portion of the proposed findings, recommendations, or report to which objection is made and

the basis for such objections. The parties are further advised that the United States Court of

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  Finally, in March 2016 the defendant sought leave to append to his memorandum an amicus brief the Solicitor
General filed at the request of the U.S. Supreme Court in the matter of Nebraska v. Colorado, 136 S. Ct. 1034
(2016) . (Dkt. No. 197). The defendant argues that the government’s brief in that matter adds support to one or more
of the arguments he advances here. After review and consideration of the defendants’ submissions, as well as the
government’s response, the Court finds that neither the Solicitor General’s brief nor the Supreme Court’s decision in
Nebraska has any bearing on any of the issues raised in the present motion. At a minimum, they do not strengthen
the defendant’s position or alter the Court’s conclusion that the motion should be denied.

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Appeals for this Circuit has repeatedly indicated that failure to comply with Rule 59(b) will

preclude further appellate review of the District Court's order based on this Report and

Recommendation. See Keating v. Secretary of Health and Human Servs., 848 F.2d 271 (1st Cir.

1988); United States v. Emiliano Valencia-Copete, 792 F.2d 4 (1st Cir. 1986); Park Motor Mart,

Inc. v. Ford Motor Co., 616 F.2d 603 (1st Cir. 1980); United States v. Vega, 678 F.2d 376, 378-

379 (1st Cir. 1982); Scott v. Schweiker, 702 F.2d 13, 14 (1st Cir. 1983); see also Thomas v. Arn,

474 U.S. 140 (1985).



                                                      /s/ Donald L. Cabell
                                                      DONALD L. CABELL, U.S.M.J.

DATED: August 12, 2016




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